          Case 1:19-cr-10078-RWZ Document 96 Filed 12/30/22 Page 1 of 2




                                                       U.S. Department of Justice

                                                       Rachael S. Rollins
                                                       United States Attorney
                                                       District of Massachusetts


Main Reception: (617) 748-3100                         John Joseph Moakley United States Courthouse
                                                       1 Courthouse Way
                                                       Suite 9200
                                                       Boston, Massachusetts 02210

                                                       December 30, 2022

The Honorable Rya W. Zobel
United States District Court
1 Courthouse Way
Boston, MA 02109

       Re:     United States v. William “Rick” Singer
               No. 1:19-cr-10078-RWZ

Dear Judge Zobel:

        We write in response to the letter of today’s date directed to you from Attorney Michael
Kendall concerning purported foreign bank accounts held by the defendant, William “Rick”
Singer, or his brother.

        Mr. Kendall contends that the government relied on oral representations by Mr. Singer in
advising the Court that it has been unable to find any evidence to support Mr. Kendall’s allegations.
That is untrue. As set forth in the government’s prior filing (Dkt. 92), the government undertook
an extensive investigation into Mr. Kendall’s claims, which included a variety of investigative
techniques. Not all of these methods can be described in a public filing. Should the Court request,
the government will be prepared to provide additional information to the Court on an in camera,
ex parte basis, at the time of Mr. Singer’s sentencing. Likewise, Mr. Kendall’s contention that the
government suggested, in its prior filing, that Mr. Singer’s scheme “generated millions of dollars
that have not been located” (Dkt. 95 at 1), is untrue. To the contrary, the government’s financial
analysis – which was the subject of extensive testimony during the trial of Mr. Kendall’s client –
refutes that contention.

        Mr. Kendall notes that his client’s case remains pending. Despite writing letters to two
different district court judges, Mr. Kendall has at no time brought these allegations to the attention
of Judge Gorton, who presided over his own client’s trial and sentencing.

                                                ****
Case 1:19-cr-10078-RWZ Document 96 Filed 12/30/22 Page 2 of 2




                                  Respectfully submitted,

                                  RACHAEL S. ROLLINS
                                  United States Attorney

                           By:    /s/ Stephen E. Frank
                                  LESLIE A. WRIGHT
                                  KRISTEN A. KEARNEY
                                  STEPHEN E. FRANK
                                  Assistant United States Attorneys




                              2
